    Case 2:18-cv-09573-JFW-JPR Document 216 Filed 01/11/22 Page 1 of 1 Page ID #:5391




                                UNITED STATES DISTRICT COURT
                               CENTRAL DISTRICT OF CALIFORNIA

                                    CIVIL MINUTES -- GENERAL

Case No.      CV 18-9573-JFW(JPRx)                                             Date: January 11, 2022

Title:        Federal Trade Commission -v- Apex Capital Group, et al.

PRESENT:
             HONORABLE JOHN F. WALTER, UNITED STATES DISTRICT JUDGE

              Shannon Reilly                                   None Present
              Courtroom Deputy                                 Court Reporter


ATTORNEYS PRESENT FOR PLAINTIFFS:                     ATTORNEYS PRESENT FOR DEFENDANTS:
              None                                                  None

PROCEEDINGS (IN CHAMBERS):                 ORDER STRIKING PROPOSED INTERVENORS
                                           WELLS FARGO & COMPANY AND WELLS FARGO
                                           BANK N.A.’S MOTION TO INTERVENE [filed 1/10/22;
                                           Docket No. 214]; and

                                           ORDER RE: EXHIBITS

       Proposed Intervenors Wells Fargo & Company and Wells Fargo Bank N.A.'s Motion to
Intervene, filed January 10, 2022 (Docket No. 214), is STRICKEN for violating paragraph 5(b) of
the Court's Standing Order, filed November 14, 2018 (Docket No. 17).

       In all future filings, counsel shall meaningfully describe all exhibits, including those attached
to the Request for Judicial Notice, on the docket. For example:

Attachment                  Description                                        No. of Pages

1                            Exh. A - Receiver’s Complaint in                          89
                             Case No. 3:21-cv-01245-AJB-JLB
                             (S.D. Cal.)


         IT IS SO ORDERED.




                                              Page 1 of 1                          Initials of Deputy Clerk sr
